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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 WHAM-O HOLDING, LTD. and
 INTERSPORT CORP. d/b/a WHAM-O,

          Plaintiffs,                                             Case No.: 19-cv-00137

 v.                                                               Judge Rebecca R. Pallmeyer

 THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Jeffrey T. Gilbert
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.

                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                  72                                         awx118
                 257                                   zhutangkelly2017
                 153                                        In venno
                 216                                    shidehe201314
                 217                                      shidehe2014
                  87                                     buyinsoonhua
                  65                                          aotoper
                 201                                       prosonhua
                  11                                         leaders*
                 221                                    soonhua_digital
                  93                                     chuanhu-store
                 200                                        power-ful
                  88                                      carhua20175
                 159                                        jianancar
                  95                                        colorsleaf
                 227                                     super_deal321
                 244                                    Worldtrade100
                 161                                      jianjianstore
                 256                                   zhengzheng2011
                 223                                    sports_deal365
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         116                                  echoii_mall
          96                                  costsmoons
          62                             agreatshoppingmall
         204                                    ratingstars
         119                              emarketslinestore
         230                                 tinycartsmall
         181                              myeshopdealstore
           5                                 cooldealmate
           3                                 blingzingshop
         128                                   fulllove365
         107                                    Der_beste
         145                                 helishop2015
         168                                    lusomuch
         185                                    nicesumer
         237                                   walk-inrain
         131                                galaxycentre13
         193                                    pgcq3156
           4                                     Ch-7620
           9                                    doorroom
          22                                   uncle_ding
          74                                     be_there
         214                                  sboautoparts
         367                                  maomaocao
         349                                     kelejichi
         338                                  huangdouya
         416                                sunnysunnyday
         176                               modernlook777
          77                                     bestbusy
         296                       dengyukejimaoyiyouxiangongsi
          82                                    bon-estore
         172                                 mhestore2009
          61                                       aaunt
          61
         228                               supersummer_sr
          86                              buyindiscount_cz
         110                                 Dream-seller
         150                                   huminh_97
         132                                  Gelivable.2u
         396                                     Rightyou
         171                                 Mesucasports
         474                           JOEREX Official Store
           7                                 dailydeal2013
          99                            Dailyappliance2010
         149                                  Huangxia36
          24                              zhangxiaolin2018
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               362                                   Love from mother
                 6                                     cy-monsters
               435                                         wulixy
               210                                    salamoeri2015
               209                                    salamoeri2015
               211                                    salamoeri2015
               127                                       fst-123_7
                63                                        andilele
               190                                    pandacars2012
                56                                        0630490
               143                                  happyshopping1812
               174                                      milyonline
               188                                     onetwofreeshop
                64                                      anmashomebi
               208                                     runmylife2015
                                                       onetwofreeshop
DATED: March 29, 2019                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
                                                     Telephone: 708-203-4787
                                                     E-mail: keith@vogtip.com

                                             ATTORNEY FOR PLAINTIFF
                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 29, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
